                                EXHIBIT 5A

                           January 25, 2019 Email

                                [See Attached]




20-04381-lsg   Doc 91-6   Filed 03/06/23   Entered 03/06/23 15:09:56   Page 1 of 23
FW: 77ct fancy vivid yellow                                                                                5/4/20, 5:06 PM



 TR

   aan Forwarded message ---------
 rom: Joseph DuMouchelle <Joe @josephdumouchelle.com>
 Date: Mon, Jan 28,2019 at 5:44 PM
 Subject: RE: 77ct fancy vivid yellow
 To: Tom Ritter <ritterlaber@ gmail.com>



 Hi Tom,



 Attached is the appraisal copy I just received. I will call you in a few minutes to confirm you have received
 this.




 Thanks Tom.




  Sincerely,



  Joe




  Joseph DuMouchelle, G.G.


  Estate Buyer -Appraiser — Auctioneer


  Graduate Gemologist


  joe@josephdumouchelle.com




  Direct (313) 300-9166; Michigan 313-884-4800


  Toll free 800-475-8898; NY 212-819-1899

  www josephdumouchelle.com




https://mail.aol.com/webmail-std/en-us/PrintMessage                                                               Page 2 of 7



               20-04381-lsg         Doc 91-6          Filed 03/06/23   Entered 03/06/23 15:09:56   Page 2 of 23
FW: 77ct fancy vivid yellow                                                                                                                5/4/20, 5:08 PM




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 delete/discard this transmission.




 From: Tom Ritter <ritterlaber@ gmail.com>
 Sent: Monday, January 28,2019 5:16 PM
 To: Joseph DuMouchelle <Joe@JosephDumouchelle.com>
 Subject: Re: 77ct fancy vivid yellow



 Who did the most recent appraisal/evaluation and what was the result and do you have a copy of that?




 Sent from my iPad


 On Jan 28,2019, at 1:42 PM, Joseph DuMouchelle <Joe@josephdumouchelle.com> wrote:

           Hi Tom,




           Per our conversation today in regards to the purchase of the 77.12ct Yellow Rose Vivid Diamond
           we propose the following:



           Purchase the 77.12¢ct diamond at $12,500,000



           Sell the diamond to a private buyer at $16,500,000 within the next week to ten days.




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FW: 77ct fancy vivid yellow                                                                                                                    5/4/20, 5:06 PM



          The percentage of post purchase split would be determined by you. Upon receipt of the funds
          they would be dispersed to you.



           Please let me know your thoughts. If you have additional question please contact me.



           Thank you.



           Sincerely,



           Joe




           Joseph DuMouchelle, G.G.


           Estate Buyer -Appraiser — Auctioneer


           Graduate Gemologist


                               com
          Jjoe@josephdumounchelle




           Direct (313) 300-9166; Michigan 313-884-4800


           Toll free 800-475-8898;   NY 212-819-1899

           www. josephdumouchelle com




           <image001 .png>


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           the sender, so that proper delivery can be arranged, and please delete/discard this transmission.




           From: Tom Ritter <ritterlaber@ gmail.com>
           Sent: Friday, January 25,2019 11:53 AM

https://mail.acl.com/webmail-std/en-us/PrintMessage                                                                                                  Page 4 of 7



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FW: 77ct fancy vivid yellow                                                                                 5/4/20, 5:06 PM



          To: Melinda Adducci <lindy @JosephDumouchelle.com>
          Ce: Joseph DuMouchelle <Joe @JosephDumouchelle.com>
          Subject: Re: 77ct fancy vivid yellow



           Relieved and will review and get back to you.



           TR



           On Fri, Jan 25,2019 at 9:51 AM Melinda Adducci <lindy @josephdumouchelle.com> wrote:

                Hi Tom,



                Great talking with you. Attached are the photos and GIA monograph and comparables on
                Fancy vivid yellow diamonds.
                Hi to Carol!



                Lindy



                Melinda (Lindy) Adducci, G.G,M.G.A®, ASA. Senior AGA Member


                Graduate Gemologist Appraiser — Auctioneer

                lindy@josephdumouchelle.com




                Cell 313-617-7895

                Florida 239-201-4800 ext. #703

                Michigan 313-884-4800 ext. #703

                Toll free 800-475-8898;    NY 212-819-1899




                <image002 jpg>



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FW: 77ct fancy vivid yellow                                                                                                                 5/4/20, 5:08 PM



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              to the sender, so that proper delivery can be arranged, and please delete/discard this transmission.




          Thomas T. Ritter, President

           Ritter, Laber & Associates, Inc.

           Mailing Address:
           Ritter, Laber & Associates, Inc.
           P.O. Box 2138
           Williston, ND 58802-2138

           Physical Address for Direct Delivery such as Fed Ex etc.:
           Ritter, Laber & Associates, Inc.
           409 Main Street
           Williston, ND 58801

           Ofc. Ph: 701-774-0314

           Fax: 701-774-0315
           Cell: 701-570-6646




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FW: 77ct fancy vivid yellow                                                                                  5/4/20, 5:06 PM



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  [Confidential Information]                                                    31, 2011
                                                                            January




  *See attacked addendum for value explanation:


                                                           Wy posit or any, other third party...
                                                      ties questing (this) appraisal,




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  The Yellow Rose Addendum

  As research proves, The Yellow Rose is the second largest natural fancy vivid yellow
  Asscher cut diamond known to mankind. The larger diamond known as the Graff
  Delaire Sunrise emerald cut fancy vivid yellow diamond weighing 118.08 carats,
  ariginally valued at $25,505,000.00 {$216,000.00 per carat) and shortly thereafter
  valued by The Gemological Institute of America at $46,000,000.00 (389,566.00 per
  carat). The Yellow Rose is one of the four most famous fancy vivid diamonds, second
  in line with the 118.08 carat emerald cut fancy vivid Delaire Sunrise, the 14.62 carat
  Oppenheimer Blue diamond, and the 24.78 carat fancy intense Graff Pink diamond. It
  is in our expert opinion that The Yellow Rose proves to be a more wearable fancy
  vivid yellow diamond. Additionally, The Yellow Rose is the 4th diamond to appear on
  the world market of such carat weight, color grade and value.

   Graff Diamonds, known worldwide as one of the largest diamond purveyors, has
   only procured 2 diamonds considered to be larger or rarer than The Yellow Rose.
   Emerald cut and square emerald cut fancy vivid or any fancy colored diamonds are
   valued at twice the market value, if not more, than modified brilliant cuts, used to
   enhance the color of the diamond. Modified brilliant cuts (which are non-
   conventional cut and faceted and cut diamonds) are the most common attempts by
   cutters to showcase the diamand color as deeper than it is in actuality, To receivea
   fancy vivid color grade by The Gemological Institute of America, the natural
   saturation of color must be many grades deeper to obtain even color in an emerald
   cut. True collectors seek out emerald cut fancy vivid diamonds because of their
   rarity, saturation, and beauty.

   Other Famous Diamonds Referenced Above:
   "The Oppenheimer Blue, which, at 14.62 carats, is the largest Vivid Blue ever to
  come to auction, set to star in Christie's Magnificent Jewels auction on 18 May in
  Geneva. The Oppenheimer Blue diamond (Estimate: CHF38,000,000-45,000,000 /
  $39,141,630-46,351,931) is the latest in a line of historic blue diamonds that have
  been auctioned at Christie's.”

  "The "Graff Pink," a 24.78 carat fancy intense pink diamond bought by Laurence
  Graff, the London-based jeweller known as "The King of Diamonds”, ata 2010
  auction for 45.44 million Swiss francs ($45.75 million then).”




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                                                  GIA         MONOGRAPH                         |   THE         YELLOW               ROSE




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   The Manufacture of the Yellow ROS. iincinrnrnsneissnseninsene I                                                                reiterate perenne                                    isranes 4



   Color Grading the Yellow Rose and Other Yellow Diamonds...



   Clarity Grading and Microscopic EXamination                                          ummm                          ssssississsssssssssssisssssssssssesssss ses sesssssssssesosssssssnss 13



   Advanced Analytical Techniques...                                                                             J



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                               GIA    MONOGRAPH           |   THE   YELLOW      ROSE




   INTRODUCTION


          ellow roses have traditionally symbolized the sun and its accompanying
       warmth and happiness. Today, they are equated with friendship. These
  “qualities are mirrored in the warm hues of this beautiful 77.12 ct Fancy Vivid
   yellow diamond, the Yellow Rose.

   BACKGROUND           OM    YELLOW      DTAMONDS

   A number of remarkable yellow diamonds have drawn public attention over the years. Although occasional
   historical finds occurred in India, Brazil, and elsewhere, significant quantities of fancy-color yellow
   diamonds were first discovered in South Africa during the late 1860s. Since then, the recovery of several
   noteworthy yellow diamonds has maintained the attention of the jewelry industry and public. Early on, the
   prevalence of light yellow diamonds from the Cape Province led to their description in the jewelry trade as
   “cape stones,” evocative phraseology that continues to the present day. While the vast majority of these light
   yellows are not considered colored diamonds by modern standards, instead belonging to GIA’s D-to-Z color
   scale, their noticeable difference in hue distinguished the Cape deposits from others that predominantly
   yielded near-colorless or brown diamonds.

     Collectors have long prized diamonds with color intensity such as that shown by the Yellow Rose. In the
   late 1600s, the famous French merchant and traveler, Jean-Baptiste Tavernier, mentioned a large yellow
   diamond weighing 140.91 ct (by today’s calculations). Additionally, the 10.73 ct Eureka, which has a dis-
   tinct yellow color, is celebrated for being faceted from the earliest recorded diamond found in South Africa.
   The crystals discovery in late 1866 or carly 1867 helped jumpstart an African diamond mining rush. In
   1878, a 287.42 ct piece of rough was found at the Kimberley mine in South Africa, a renowned source of
   yellow diamonds; it would later be fashioned into the Tiffany Diamond. The publicity surrounding other
   diamonds, such as with the 407.48 ct Incomparable and the 101.29 ct Allnatt, further underscored the
   distinction of notable yellow diamonds.




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                                 GIA     MONOGRAPH        |   THE   YELLOW      ROSE




   Yellow Rose.



     In the late 1800s, both the Kimberley and the Dutoitspan mines quickly gained reputations as signifi-
   cant, steady sources of yellow stones. Currently, near-colorless, brown, and yellow diamonds dominate
   the production of mining operations around the world. The occurrence of fancy-color yellow diamonds is
   widespread, and no particular deposit stands out as an important source; however, many of the larger pieces
   of yellow rough continue to originate from the mines in South Africa.

     Today, diamonds with a yellow face-up appearance are among the most widely encountered of the
   fancy-color diamonds. The attractiveness of these diamonds has earned them enduring popularity. Yet
   while yellow diamonds may be relatively common, those of strong color—such as the Yellow Rose—
   are quite rare regardless of size.

      Fancy Vivid yellow diamonds larger than 70 ct are so rare that the quantity encountered at the GIA
   Laboratory for any given year could be counted on one’s hands. Gemstones of this size comprise less
   than 1% of all Fancy Vivid yellow diamonds and less than 0.1% of all yellow diamonds submitted to the
   Laboratory. Wichin this rare class of diamonds, the majority are brilliant cut; it is unusual to find those
   with step-cut faceting,




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                                GIA    MONOGRAPH             |   THE   YELLOW       ROSE




      QLOR         GRADING                THE YELLOOW                   ROSE
   AND        OTHER YELLOW                       DIAMO NDS


         -or fancy-color diamonds, color far outweighs the other “Cs” (clarity, cut,
         and carat weight) dictating value. Therefore, it is critical to understand color
   appearances and how they affect color grades and descriptions. For most people
   color observation is an intuitive response rather than a systematic understanding
   of the ordering of color appearances. Thorough knowledge of these is required to
   understand how they affect GIA color grades and descriptions.

   GIA    COLORED         DIAMOND         COLOR                  observer views the diamond approximately
   GRADING—AN             OVERVIEW                               perpendicular to the table facet. Working within
                                                                 these parameters, GIA graders describe a single color
   GIA’s system for color grading colored diamonds
                                                                 as being “characteristic” of the diamond as a whole.
   uses three descriptive attributes: hue (the aspect that
                                                                 This characteristic color is the overall blend of
   permits the item to be classified as red, green, blue,
                                                                 appearances excluding obvious surface reflection,
   violet, or anything in between), tone (the relative
                                                                 dispersion, windowing, or extinction,
   lightness or darkness of a color), and saturation (the
   relative strength or weakness of a color). The color            GIA’s terminology for colored diamonds uses a
   appearance of a gem is a combination of these three           combination of color descriptions and fancy grades
   attributes. By standardizing the organization of              to locate a diamond’s characteristic color in a region
   these three attributes, we can locate the appearance          of color space. It includes 27 hues, which are
   of one color relative to others in color space.               indicated on the hue circle shown on page 7. Some
                                                                 of these 27 hue names include modifiers, such as
     For color grading, colored diamonds are placed
                                                                 purplish red. A modifier in a hue name does not
   face-up in a grooved, matte-white non-fluorescent
                                                                 denote a lack of purity to the color. A fancy grade
   plastic tray within a controlled environment—a
                                                                 (e.g. Fancy Vivid, Fancy   Deep) represents the
   viewing box that eliminates visual distractions and
                                                                 combined effect of tone and saturation on the color
   shields external light. A standard geometry between
                                                                 of a diamond. In each instance, the color descriptions
   the diamond, the light source, and the observer is
                                                                 and fancygrades represent a range of appearances,
   used for visual assessment. The light source is
                                                                 not just a single color.
   positioned directly above the diamond, and the




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                                             GIA         MONOGRAPH                         THE       YELLOW            ROSE




   HUE         CIRCLE                      OF NATURAL                                COLOR                         DIAMONDS




                                                                                     RED
                                                                  PURPLISH                                ORANGY
                                                                     RED                                    RED
                                                     PURPLE-                                                         REDDISH
                                                       RED                                                           ORANGE
                                             RED-
                                            PURPLE                                                                             ORANGE
                                  REDDISH                                                                                              ELLOWISH
                                  PURPLE                                                                                       NC       RANG
                                                                                                                                            YELLOW-
                                                                                                                                            ORANGE
                       PURPLE
                                                                                                                                                  ORANGE-
                                                                                                                                                   YELLOW
                                                                                                                                                    ORANGY
                                                                                                                                                    YELLOW
                  VIOLET

                                                                                                                                                      YELLOW
                  BLUISH
                  VIOLET
                                                                                                                                                    GREENISH
                  VIOLETISH                                                                                                                          YELLOW
                                                                                                                                                  GREEN-
                                                                                                                                                  YELLOW
                           BLUE                                                                                            /
                                                                                                                                            YELLOW-
                                                                                                                                             GREEN

                                                                                                                                    YELLOWISH
                                     CREE                                                                                             GREEN

                                                         GREEN-
                                                          REE                                                      GREEN
                                                                             BLUE-               BLUISH
                                                                             GREEN               GREEN




   This chart shows each of the 27 hues GLA uses to describe fancy-color diamonds.




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                                                     1bination of the effects of cutting
                                                        size; and bodycolor,



                                                                   st    dster diamonds io




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                                    GIA      MONOGRAPH               |   THE    YELLOW         ROSE




   WARM            YELLOW                DIAMOND                   COLOR              REFERENCE                    CHART




                                                                                                   D-z

                                                                                                   Fancy Li br |              Fancy    Fancy
                                                                                                            [                Intense   Vivid




                                                                                                                     Fancy
                                                                                                                     Deep




   The boundaries between different regions in GLA’s fancy-color chart divide yellow diamonds according to variations in the tone and
   saturation of their hue. This chart illustrates the color appearance of yellow diamonds in the “warmer” yellow hue range, where colors
   tend toward the yellow/orangy yellow hue.




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